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     UNITED STATES DISTRICT COURT FOR THE
     EASTERN DISTRICT OF NEW YORK
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     Innovative Sports Management, Inc. d/b/a Integrated
     Sports Media,



                                         Plaintiff,

      -against-                                                                 DEFAULT JUDGMENT

                                                                               1:23-CV-00332-AMD-SJB

     JESSENIA BURGOS, Individually, and as officer, director,
     shareholder and/or principal of BARU CORP d/b/a
     RIKO PERUVIAN,

     and

     BARU CORP d/b/a RIKO PERUVIAN,

                                         Defendants.
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              The Summons and Complaint in this action having been served upon the

     Defendants, JESSENIA BURGOS, Individually, and as officer, director, shareholder,

     and/or principal of BARU CORP d/b/a RIKO PERUVIAN, and BARU CORP d/b/a

     RIKO PERUVIAN, on January 31, 2023 and February 11, 2023, and said Defendants

     having failed to plead or otherwise appear in this action,

              NOW, on motion of Alexander Z. Lonstein, Esq., Lonstein Law Office, P.C.,

     attorneys for the Plaintiff, it is hereby

              ORDERED AND ADJUDGED that INNOVATIVE SPORTS MANAGEMENT,

     INC. d/b/a INTEGRATED SPORTS MEDIA, the Plaintiff, does recover of Defendants,
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     jointly and severally as follows:

     Against JESSENIA BURGOS, Individually, and as officer, director, shareholder,
     and/or principal of BARU CORP d/b/a RIKO PERUVIAN, as follows:

            1)      TEN THOUSAND DOLLARS ($10,000.00) pursuant to 47
                    U.S.C. § 605(e)(3)(C)(i)(II) and

            2)      TWENTY THOUSAND DOLLARS ($20,000.00) pursuant
                    to 47 U.S.C. § 605(e)(3)(C)(ii), for Defendant’s willful
                    violation of 47 U.S.C. § 605(a);

            3)      FOUR THOUSAND TWO HUNDRED TWENTY THREE
                    DOLLARS and FIFTY CENTS ($4,223.50) pursuant to 47
                    U.S.C. §605(e)(3)(B)(iii) and pursuant to 17 U.S.C. §505,
                    in the discretion of the Court, for total costs and attorney’s
                    fees.
     and further,

     Against BARU CORP d/b/a RIKO PERUVIAN, as follows:

            1)      TEN THOUSAND DOLLARS ($10,000.00) pursuant to 47
                    U.S.C. § 605(e)(3)(C)(i)(II) and

            2)      TWENTY THOUSAND DOLLARS ($20,000.00) pursuant
                    to 47 U.S.C. § 605(e)(3)(C)(ii), for Defendant’s willful
                    violation of 47 U.S.C. § 605(a);

            3)        FOUR THOUSAND TWO HUNDRED TWENTY THREE
                      DOLLARS and FIFTY CENTS ($4,223.50) pursuant to 47
                      U.S.C. §605(e)(3)(B)(iii) and pursuant to 17 U.S.C. §505,
                      in the discretion of the Court, for total costs and attorney’s
                      fees.
     and it is further,
            ORDERED AND ADJUDGED that pursuant to Rule 54(b) of the Federal
     Rules of Civil Procedure, there is no just reason for delay in this Default
     Judgment as the interests of justice require the issuance of judgment as requested
     without further delay.

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     Dated:           , 2023


                                      ________________________________
                                      HON. ANN M. DONNELLY
                                      United States District Judge




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